69 F.3d 532
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ricky D. HAYNES, Plaintiff-Appellant,v.Ron ANGELONE, Director;  Gene M. Johnson, Deputy DirectorField Operations, Defendants-Appellees.
    No. 95-7226.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  October 12, 1995.Decided:  October 26, 1995.
    
      Ricky D. Haynes, Appellant Pro Se.  Lance Bradford Leggitt, Office of The Attorney General of Virginia, Richmond, VA, for Appellees.
      Before WILKINSON, NIEMEYER, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the magistrate judge's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the magistrate judge's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the magistrate judge.  Haynes v. Angelone, No. CA-95-369-3 (E.D.Va. Aug. 3, 1995).*  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         The magistrate judge exercised jurisdiction pursuant to 28 U.S.C. Sec. 636(c) (1988)
      
    
    